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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )           4:05CR3032
           Plaintiff,                   )
     vs.                                )                MEMORANDUM
                                        )                AND ORDER
RICARDO PERALES,                        )
SILVANO MICHEL,                         )
JESSICA YVONNE SERVIN,                  )
                                        )
           Defendants.                  )

     On the day scheduled for the hearing on the defendants' motions to
suppress evidence, the court was advised by counsel that the parties
were nearing the final stages of negotiating resolutions of the charges
pending against the defendants. On that information, the court agreed
to schedule the defendants for plea proceedings. Accordingly,

     IT IS ORDERED:

     1. The hearing on the motions to suppress evidence, filings 21,
22, 34 and 39, is cancelled.

     2. On or before June 7, 2005 at 5:00 p.m. defense counsel will
notify the office of the undersigned that the defendants have or have
not reached plea agreements.

     IT IS FURTHER ORDERED that:

     1.    This case is removed from the trial docket based upon the
           requests of the defendants.

     2.    A hearing on defendant Perales’ anticipated plea of guilty is
           scheduled before Magistrate Judge Piester on the 13th day of
           July, 2005, at the hour of 10:30 a.m., in Courtroom No. 2,
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska.

           A hearing on defendant Michel’s anticipated plea of guilty is
           scheduled before Magistrate Judge Piester on the 13th day of
           July, 2005, at the hour of 11:30 a.m., in Courtroom No. 2,
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska.

           A hearing on defendant Servin’s anticipated plea of guilty is
           scheduled before Magistrate Judge Piester on the 13th day of
           July, 2005, at the hour of 11:00 a.m., in Courtroom No. 2,
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      United States Courthouse and Federal Building, 100 Centennial
      Mall North, Lincoln, Nebraska.

3.    On or before the date set for the plea proceedings, counsel
      for plaintiff and for defendants shall provide to the
      assigned probation officer their respective versions of the
      offense for purposes of preparing the presentence
      investigation report.

4.    For all defendants, the time between today’s date and the
      hearings on the anticipated pleas of guilty is excluded for
      purposes of computing the limits under the Speedy Trial Act.
      See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

Dated: May 16, 2005.
                                    BY THE COURT:


                                    s/   David L. Piester
                                    United States Magistrate Judge




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